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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

GEORGIA REPUBLICAN PARTY,                 )
INC, et al.,                              )
                                          )
       Plaintiffs,                        ) CIVIL ACTION NO.
                                          ) 1:20-cv-5018-ELR
v.                                        )
                                          )
BRAD RAFFENSPERGER, et al.,               )
                                          )
       Defendants.                        )



     DEFENDANTS’ CONSOLIDATED BRIEF IN SUPPORT OF THEIR
       MOTION TO DISMISS AND RESPONSE IN OPPOSITION TO
          PLAINTIFFS’ MOTION FOR INJUNCTIVE RELIEF


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                                   INTRODUCTION

       Plaintiffs ask this Court to intervene in the ongoing January 5, 2021, run-off

election and alter the rules for the verification of absentee ballots currently in use by

elections officials across Georgia’s 159 counties. The rules adopted by the State

Election Board and guidance issued by the Secretary of State were adopted over 8

months ago and have been in place for at least 3 separate elections now. Moreover,

the rules and guidance challenged by Plaintiffs here have been the subject of

numerous lawsuits raising similar claims, which have been repeatedly rejected by

federal courts.1

       There is no reason for this Court to hold differently, because this case is

squarely controlled by the Eleventh Circuit’s decision in Wood v. Raffensperger,

which rejected a nearly identical challenge to the same absentee ballot rules and

procedures. 2020 U.S. App. LEXIS 37971 at *2 (11th Cir. Dec. 5, 2020). Finding

that the plaintiff in that case lacked an injury in fact sufficient to establish Article III

standing, the Court of Appeals made clear that federal courts are not “constituted as



1
  See Texas. v. Georgia, No. 22O155 (U.S. Sup. Ct.) (motion for emergency writ
denied); Wood v. Raffensperger, No. 1:20-cv-04651-SDG, 2020 U.S. Dist. LEXIS
218058 (N.D. Ga. Nov. 20, 2020), aff’d Appeal No. 20-1245-C, 2020 U.S. App.
LEXIS 37971 (11th Cir. Dec. 5, 2020) (affirming denial of motion for emergency
injunction); Pearson v. Kemp, No. 1:20-cv-4809 (N.D. Ga.) (dismissed).
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freewheeling enforcers of the Constitution,” and “may not entertain post-election

contests about garden-variety issues of vote counting and misconduct that may

properly be filed in state courts” Id. at *2, 10.

      Consistent with this controlling authority, Plaintiffs’ action must be dismissed

because they lack Article III standing. Because of Plaintiffs’ inexcusable delay in

raising their challenge to the state’s absentee ballot procedures, their claims are also

barred by laches. Finally, Plaintiffs’ lawsuit fails to raise any cognizable

constitutional claims.

      This case is not about voting rights. Rather, Plaintiffs are trying to change the

rules in the middle of an election because they believe that not enough absentee

ballots will be rejected, or at least not enough will have to go through the additional

step of being “cured” by the voter before being counted. But the Eleventh Circuit

has cautioned federal courts against interfering with state administration of elections

while the election is ongoing. New Ga. Project v. Raffensperger, 976 F.3d 1278,

1283 (11th Cir. 2020). County election officials have already received, processed,

and accepted over 300,000 absentee ballots under the state’s existing rules and

procedures. Any injunction entered by this Court “would thus violate Purcell’s well-

known caution against federal courts mandating new election rules—especially at




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the last minute.” Id. This Court should deny Plaintiffs’ untimely request for an

injunction and dismiss this action.

                         FACTUAL BACKGROUND

      In 2019, General Assembly enacted sweeping reforms to Georgia’s Elections

Code in HB 316, which adopted a new electronic voting system and modified the

technical requirements for absentee ballots.2 Whereas voters previously had to

include their address, date of birth, and a signature on the outer envelope, HB 316

modified the language of the oath on the outer absentee ballot envelope to leave the

signature requirement but remove the elector’s address and date of birth. See

O.C.G.A. § 21-2-384. Further, HB 316 added a “cure” provision, which requires

election officials to give a voter until three days after the date of the election to cure

any issues with the voter’s signature before rejecting an absentee ballot for a missing

or mismatched signature on the outer envelope. See O.C.G.A. § 21-2-386(a)(1)(C).

The “cure” provision works in conjunction with the statutory requirement that




2
 HB 316 followed a number of federal court decisions enjoining certain Georgia
counties from rejecting absentee ballots for missing or non-matching information
during the 2018 general election. See Democratic Party of Ga., Inc. v. Crittenden,
F. Supp. 3d 1324 (N.D. Ga. 2018); Martin v. Crittenden, 347 F. Supp. 3d 1302;
Martin v. Kemp, 341 F. Supp. 3d 1326 (N.D. Ga. 2018).
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election officials “promptly notify” the voter of a rejected absentee ballot due to a

missing or mismatched signature.

      On November 6, 2019, the Democratic Party of Georgia, DSCC, and DCCC

(collectively, “Political Party Organizations”) sued the State Defendants, alleging

that, despite the reforms of HB 316, the “promptly notify” language of O.C.G.A.

§ 21-2-386(a)(1)(C) was still vague and ill-defined, and left counties without

uniform standards for verifying signatures on absentee ballots.

      While that action was pending, the State Election Board (“SEB”) approved a

rule that established a uniform standard for counties to follow to “promptly notify”

voters when their absentee ballot is rejected as required by O.C.G.A. § 21-2-

386(a)(1)(C). The rule provides that when a timely submitted absentee ballot is

rejected, the board of registrars or absentee ballot clerk must send the voter notice

of the rejection and opportunity to cure within three business days, or by the next

business day if within ten days of Election Day. Ga. Comp. R. & Regs. r. 183-1-14-

.13 (the “Prompt Notification Rule”). The Prompt Notification Rule was adopted

pursuant to the SEB’s rule-making authority under O.C.G.A. § 21-2-31(2),

promulgated pursuant to the Georgia Administrative Procedure Act, published for

public comment, and discussed at multiple public hearings before it became effective

on March 22, 2020.

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      Because the Prompt Notification Rule resolved the primary issue in the

pending lawsuit, the parties resolved the matter in a settlement agreement

(“Settlement Agreement”) that included, among other terms, an agreement that (1)

the State Election Board would promulgate and enforce the Prompt Notification

Rule; and (2) the Secretary of State would issue guidance to county election officials

regarding the signature matching process.

      On May 1, 2020, the Secretary of State distributed an Official Election

Bulletin that advised county election officials of the Prompt Notification Rule and

provided additional guidance for reviewing signatures on absentee-ballot envelopes

(“OEB Guidance”). (Declaration of Chris Harvey ¶ 5). The OEB Guidance

instructed that after an election official makes an initial determination that the

signature on the absentee ballot envelope does not match the signature on file for the

voter pursuant to O.C.G.A. § 21-2-386(a)(1)(B) and (C), two additional registrars,

deputy registrars, or absentee ballot clerks should also review the signature, and the

ballot should be rejected if at least two of the three officials agree that the signature

does not match. (Id.) The guidance document expressly instructs county officials to

comply with state law. (Id.)

      Plaintiffs’ claim that these “new procedures were applied for the first time

during the November 3, 2020 general and special elections” is simply not true. (See

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Doc. 2-1 at 4). The Prompt Notification Rule was adopted by the SEB in March, and

the OEB Guidance was issued in May, in advance of the combined Presidential

Preference Primary and statewide general primary on June 9, 2020, as well as the

subsequent primary run-off election held on August 11, 2020. These procedures

have been in place for at least three separate elections, and yet Plaintiffs never raised

an objection or legal challenge until weeks after the November general election.

      Contrary to Plaintiffs’ claim that the Prompt Notification Rule and the OEB

significantly altered the signature verification process and rejection rate (Doc. 2-1 at

2), these measures have had no detectable effect on the absentee ballot rejection rate

since the last general election in 2018. (Harvey Dec. ¶ 6). An analysis of the number

of absentee-ballot rejections for signature issues for 2020 as compared to 2018 found

that the rejection rate for absentee ballots with missing or non-matching signatures

in the 2020 general election was essentially the same rejection rate for signature

issues as in 2018, even though the total number of absentee ballots submitted (and

rejected) increased exponentially. (Id.)

      Following the November general election, and in response to increased calls

to make the signature verification process open to public scrutiny, the Secretary of

State issued an Official Election Bulletin dated December 9, 2020, instructing

counties that the verification process can be made open to the public based upon the

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Elections Code’s general requirement that elections officials “perform their duties

in public.”3 (Harvey Dec. ¶ 7.) However, the OEB clarifies that public observers are

not permitted to see confidential information or to interfere in the process, see

O.C.G.A. § 21-2-597, and elections officials are instructed to put in place reasonable

regulations to protect the voter’s personal identification information from public

view.

              ARGUMENT AND CITATION OF AUTHORITIES

I. The Court Lacks Subject Matter Jurisdiction because Plaintiffs Cannot
   Establish Article III Standing.

        Federal courts have an independent obligation to ensure that subject-matter

jurisdiction exists before reaching the merits of a dispute. Jacobson v. Fla. Sec’y of

State, 974 F.3d 1236, 1245 (11th Cir. 2020) (vacating and ordering dismissal of

voting rights case due to lack of standing). “For a court to pronounce upon . . . the

constitutionality of a state or federal law when it has no jurisdiction to do so is, by

very definition, for a court to act ultra vires.” Id. (citation omitted). “If at any point

a federal court discovers a lack of jurisdiction, it must dismiss the action.” Id.




3
  The Elections Code does not explicitly permit partisan observers to participate in
the signature verification process. See generally O.C.G.A. § 21-2-386 (stating that
this process is to be performed by deputy registrars).
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      Article III of the Constitution limits the subject-matter jurisdiction of federal

courts to “Cases” and “Controversies.” U.S. Const. art. III, § 2. A party invoking

federal jurisdiction bears the burden of establishing standing at the commencement

of the lawsuit. Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992). As an

irreducible constitutional minimum, Plaintiffs must show they have (1) suffered an

injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant,

and (3) that is likely to be redressed by a favorable judicial decision. Id. at 561. As

the party invoking federal jurisdiction, Plaintiffs bear the burden at the pleadings

phase of “clearly alleg[ing] facts demonstrating each element.” Spokeo, Inc. v.

Robins, 136 S. Ct. 1540, 1547 (2016).

   A. Plaintiffs have not clearly alleged an injury in fact.

      Injury in fact is the “first and foremost” of the standing elements. Spokeo, 136

S. Ct. at 1547. An injury in fact is “an invasion of a legally protected interest that is

both concrete and particularized and actual or imminent, not conjectural or

hypothetical.” Trichell v. Midland Credit Mgmt., Inc., 964 F.3d 990, 996 (11th Cir.

2020). Plaintiffs fail to show that they have suffered a concrete and particularized

injury or an injury that is actual and imminent, rather than hypothetical.




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   1. Plaintiffs allege a generalized grievance, not a concrete and particularized
      injury.

      Plaintiffs’ alleged injury is that votes will be “diluted by the counting of

unlawfully cast ballots.” (Doc 2-1 at 20). However, this is not an injury

particularized to Plaintiffs that is “distinct from a generally available grievance about

government.” Gill v. Whitford, 138 S. Ct. 1916, 1923 (2018). As the Eleventh Circuit

held in Wood, a claim that the government has not followed the law, without more,

is a generalized grievance, because any voter can raise it. 2020 U.S. App. LEXIS

37971 at *12. And the Supreme Court has made clear that a generalized grievance,

“no matter how sincere,” cannot support standing. Id.; see also Lance v. Coffman,

549 U.S. 437, 440– 41 (2007) (holding that “a generalized grievance that is plainly

undifferentiated and common to all members of the public” is not sufficient for

standing).

      Like in Wood, Plaintiffs here cannot “explain how [their] interest in

compliance with state election laws is different from that of any other person,”

because all Georgia voters could be said to share Plaintiffs’ interest in ensuring that

run-off election is properly administered. 2020 U.S. App. LEXIS 37971 at *13.

Although Plaintiffs allege that their members’ votes are likely to be diluted if

unlawful votes are counted, this theory was expressly rejected in Wood as a basis for

standing. While the Eleventh Circuit noted that vote dilution can support standing in
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the context of certain gerrymandering or malapportionment cases, that is because in

those types of cases, “vote dilution occurs when voters are harmed compared to

‘irrationally favored’ voters from other districts.” Id. at 12 (citing Baker v. Carr, 369

U.S. 186, 207-08 (1962)); see also Gill v. Whitford, 136 S. Ct. 1916, 1930 (2018)

(distinguishing gerrymandering cases like Baker in which voters alleged “facts

showing disadvantage to themselves as individuals”). But here, “no single voter is

specifically disadvantaged” if a vote is counted improperly, even if the error might

have a “mathematical impact on the final tally and thus on the proportional effect of

every vote.” 2020 U.S. App. LEXIS 37971 at *13 (citing Bognet v. Sec’y

Commonwealth of Pa., 2020 WL 6686120, at *12 (3d Cir. Nov. 13, 2020).

      Courts have also rejected Plaintiffs’ asserted “competitive interest in winning

the January 5, 2021 runoff” as a basis for standing. In this way, Plaintiffs seek to

vindicate “group political interests, not individual legal rights.” Gill v. Whitford, 138

S. Ct. 1916, 1933 (2018). But federal courts are “not responsible for vindicating

generalized partisan preferences.” Id.; see also Jacobson, 974 F.3d at 1251 (holding

that an organization’s general interest in its preferred candidates winning elections

is a “generalized partisan preference” that federal courts are “not responsible for

vindicating”). Accordingly, Plaintiffs have not articulated a concrete and

particularized injury in fact sufficient to confer standing to pursue their claims.

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      2. Plaintiffs’ alleged injury is based on hypothetical future harm that is not
         certainly impending.

      Because Plaintiffs seek prospective relief to prevent a future injury, they must

also establish that “the threatened injury is certainly impending.” Indep. Party of

Fla. v. Sec’y, State of Fla., 967 F.3d 1277, 1280 (11th Cir. 2020); see also Jacobson,

974 F.3d at 1245; Anderson v. Raffensperger, 1:20-CV-03263, 2020 WL 6048048,

at *14-15 (N.D. Ga. Oct. 13, 2020). Allegations of “possible future injury are not

sufficient.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013).

      Plaintiffs’ alleged injury is based entirely upon speculation that they will be

harmed “by the counting of unlawfully cast ballots and unequal application of the

signature matching process” in the upcoming January run-off. (Doc 2-1 at 21). But

Plaintiffs have shown no evidence that counties actually counted unlawful absentee

ballots in the November general election, let alone are “certainly” likely to do so in

the future. See Anderson v. Raffensperger, 1:20-CV-03263, 2020 WL 6048048 at

*39 (N.D. Ga. Oct. 13, 2020) (“any theory of standing, which relies on a highly

attenuated chain of possibilities, does not satisfy the requirement that threatened

injury must be certainly impending”).

      To the extent Plaintiffs are relying on a diversion of resources theory to

establish standing (Doc 2-1 at 21), this theory is also based on their speculative belief

that counties may allow unlawful votes to be counted. But to establish an imminent
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injury, Plaintiffs must show that the counting of unlawful votes is actually likely to

occur. See Clapper, 568 U.S. at 402 (“[Plaintiffs] cannot manufacture standing by

choosing to make expenditures based on hypothetical future harm that is not

certainly impending.”); City of Los Angeles v. Lyons, 461 U.S. 95, 107 n.8 (1983)

(“It is the reality of the threat of repeated injury that is relevant to the standing

inquiry, not the plaintiff’s subjective apprehensions.”).

      Moreover, Plaintiffs do not identify with specificity the expenditures they are

making to address their perceived problems with absentee ballot verification process

for the January run-off. Nor can they explain how electoral harm to their candidates

is certain to occur absent injunctive relief. Even if harm to a candidate’s electoral

prospects is a sufficient basis for standing, there is no evidence that such harm is

“certainly imminent” here for the two candidate Plaintiffs. See Jacobson, 974 F.3d

at 1251 (concluding that the Democratic Party “never proved that electoral harm to

one of the Party’s candidates is ‘certainly impending,’ so it lacks standing to seek

prospective relief”).

   B. Plaintiffs’ alleged injuries are not traceable to Defendants, nor can they
      be redressed by their requested relief.

      Not only have Plaintiffs failed to demonstrate an injury in fact, they cannot

satisfy the causation requirement of standing, which requires that “a plaintiff’s injury

must be ‘fairly traceable to the challenged action of the defendant, and not the result
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of the independent action of some third party not before the court.’” Jacobson, 974

F.3d at 1253 (citation omitted); see also Hollywood Mobile Estates Ltd. v. Seminole

Tribe of Fla., 641 F.3d 1259, 1265 (11th Cir. 2011) (holding that an injury sufficient

to establish standing cannot “result [from] the independent action of some third party

not before the court.”).

      Here, Plaintiffs allege that counties—not the Defendants—are failing to

implement signature verification procedures in a uniform or consistent manner.

Under Georgia law, county elections officials are solely responsible for processing,

validating, and tabulating absentee ballots. See O.C.G.A. § 21-2-386. As such,

Plaintiffs’ claimed injury resulting from alleged irregularities in the signature

verification process is not traceable to any of the Defendants. See Jacobson, 974

F.3d at 1253 (concluding that alleged injury from state’s ballot order statute was not

traceable to the Secretary of State because county election superintendents were

“independent officials who are not subject to the Secretary’s control”).

      Plaintiffs’ argument that their injuries are traceable to Defendants and

redressable by them because of the Secretary of State’s role as the chief election

official of the state was soundly rejected in Jacobson and in subsequent cases in this

judicial district. As noted in Anderson, the Secretary’s “general powers are

insufficient to establish traceability” under “binding case law.” 2020 U.S. Dist.

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LEXIS 188677, at *63 (citing Jacobson, 974 F.3d at 1254 (“voters and organizations

. . . cannot rely on the Secretary’s general election authority to establish traceability,”

nor can they rely on his authority “to promulgate a rule” or “issue directives”).4

       Similarly, no relief can be entered against the Secretary that would be binding

on county officials, meaning that Plaintiffs cannot establish the redressability

element of standing. The Eleventh Circuit made clear in Jacobson that federal courts

do not have the authority to exercise jurisdiction to order relief against county

officials who have not been named as parties. 974 F.3d at 1253; see also Anderson,

2020 U.S. Dist. LEXIS 188677, at *64 (“No Georgia law allows State Defendants

to reach down into the county precincts and demand the relief Plaintiffs seek.”)

       In sum, having failed to establish that they have suffered an injury in fact, or

that their purported injury is traceable to or redressable by the Defendants, Plaintiffs

lack standing and their claims should be dismissed.




4
  Plaintiffs also cite to Grizzle v. Kemp, 634 F.3d 1314 (11th Cir. 2011) in their
Complaint, which held that Georgia’s Secretary of State was “a proper party in [an]
action for injunctive and declaratory relief pursuant to Ex Parte Young.” 634 F.3d at
1316. But, as recognized in Anderson, “Article III standing and the proper defendant
under Ex parte Young are separate issues.” 2020 U.S. Dist. LEXIS 188677, at *64.
Grizzle does not “address[]—let alone resolve[]—the standing issues in this suit.”
Id.

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II.    Plaintiffs’ Claims are Barred by Laches.

       Plaintiffs’ inexcusable delay in bringing their claims warrants denial of their

motion and dismissal of the action. Laches bars a request for equitable relief when

(1) the plaintiff delays in asserting the claim; (2) the delay is not excusable, and (3)

the delay causes the non-moving party undue prejudice.” United States v. Barfield,

396 F.3d 1144, 1150 (11th Cir. 2005). In the context of elections, “any claim against

a state electoral procedure must be expressed expeditiously.” Fulani v. Hogsett, 917

F.2d 1028, 1031 (7th Cir. 1990). As time passes, the state’s interest in proceeding

with the election increases in importance as resources are committed and irrevocable

decisions are made. Id.

       In Wood, Judge Grimberg held that the same claims raised by Plaintiffs here

were barred by laches because the plaintiff failed to raise them prior to the November

election. The facts are even more compelling here because Plaintiffs waited even

longer to file this action. The absentee ballot regulations and procedures that

Plaintiffs now complain of were adopted in March—well before the November 3,

2020 election or the commencement of the January 5, 2021, runoff election—and

Plaintiffs fail to cite any justifiable excuse for failing to bring this challenge earlier.

Although Plaintiffs argue that they have not been “dilatory in requesting this relief

because the signature matching problems did not become apparent until after the

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November election,” this excuse is simply not credible. These procedures have been

in place in multiple elections for 2020; it was not until Plaintiffs were disappointed

by the election results that they chose to bring this action. If Plaintiffs’ constitutional

claims are valid, they “should not depend on the outcome of any particular election,

to wit, whether [Plaintiffs’] preferred candidates won or lost.” See Wood, 2020 U.S.

Dist. LEXIS 218058 at *22. The claims “were ripe the moment the parties executed

the Settlement Agreement,” and should have been brought at that time. Id.

       Plaintiffs’ delay here is even more inexcusable and prejudicial than in Wood.

It is six weeks after the general election and voting for the January run-off has

already started. Over 300,000 absentee ballots have already been received and

accepted under the current procedures. As the Wood court recognized, Defendants

and “the public at large would be significantly injured” if Plaintiffs were permitted

to raise these challenges after the general election has already taken place and while

voting has already started for the next election. Id. at *23-24 (citing Arkansas United

v. Thurston, 2020 U.S. Dist. LEXIS 2017145 for the axiomatic principle that “the

equities do not favor intervention where the election is already in progress and the

requested relief would change the rules of the game mid-play.”).




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III.   Plaintiffs’ Motion for Injunctive Relief Should be Denied.

       Even if Plaintiffs could overcome the jurisdictional defects that are fatal to

their claims, they still fail to satisfy the requirements for the extraordinary injunctive

relief they seek. “A preliminary injunction is an extraordinary remedy never awarded

as of right.” Winter v. Natural Res. Def. Council, 555 U.S. 7, 24 (2008). To prevail

on their motion, Plaintiffs are required to show: (1) a substantial likelihood of

prevailing on the merits; (2) that the plaintiff will suffer irreparable injury unless the

injunction issues; (3) that the threatened injury to the movant outweighs whatever

damages the proposed injunction may cause the opposing party; and (4) the

injunction would not be adverse to the public interest. Duke v. Cleland, 954 F.2d

1526, 1529 (11th Cir. 1992). The Court “should pay particular regard for the public

consequences in employing the extraordinary remedy of injunction.” Winter, 555

U.S. at 24.

   A. Plaintiffs are not likely to succeed on the merits of their claims.

       Plaintiffs raise three constitutional counts in their Complaint, claiming that

inconsistent application of signature verification procedures by county elections

officials (1) is an undue burden on Plaintiffs’ associational and voting rights under

the First and Fourteenth Amendment; (2) violates due process under the Fourteenth

Amendment; and (3) violates equal protection under the Fourteenth Amendment.

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Because Plaintiffs’ are not substantially likely to succeed on the merits of these

claims, their motion for injunctive relief must be denied.

   1. Plaintiffs’ claim under the First and Fourteenth Amendments fails because
      they allege no harm to their voting or associational rights.

      Plaintiffs cannot show a constitutional injury to their right to vote. Typically,

when deciding a constitutional challenge to state election laws under the First and

Fourteenth Amendments, federal courts apply the Anderson-Burdick framework,

which balances the burden on the voter with the state’s interest in the voting

regulation. Crawford v. Marion Cty. Election Bd., 553 U.S. 181, 190 (2008);

Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1318-19 (11th Cir. 2019).

      But, as the Wood court recognized, Plaintiffs’ claims do not fit within the

Anderson-Burdick framework. 2020 U.S. Dist. LEXIS 218058 at *25. The first

question a court must ask in the Anderson-Burdick analysis is whether a state policy

imposes a burden on the right to vote. The answer here is clearly “no,” which should

end the inquiry. Plaintiffs make the attenuated argument that the current signature

verification procedures make it too easy for absentee ballots to be counted, that this

process favors Democrat voters, and that Republican votes are in turn likely to be

“diluted.” However, both the district court in Wood and the Third Circuit Court of

Appeals in Bognet “squarely rejected” this theory of vote dilution as the basis for a


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Fourteenth Amendment claim. Bognet, 2020 WL 6686120, at *31-2 ( stating that if

“dilution of lawfully cast ballots by the ‘unlawful’ counting of invalidly cast ballots”

was a constitutional violation, it would “transform every violation of state election

law” into a potential federal constitutional claim); see also Jacobson, 974 F.3d at

1247 (rejecting partisan vote dilution claim).

        The Eleventh Circuit has been clear that the types of voting rights covered

by the substantive due process clause in the Fourteenth Amendment are narrow.

Curry v. Baker, 802 F.2d 1302, 1314 (11th Cir. 1986). Accordingly, not every

“garden variety” election dispute gives rise to a constitutional deprivation that

should be entertained in federal court. Id. at 1315. Due process does not extend to

examining the validity of individual ballots or supervising the administrative details

of an election. Id. In only “extraordinary circumstances will a challenge to a state

election rise to the level of a constitutional deprivation.” Id.; see also Wood, 2020

U.S. Dist. LEXIS 218058 at *35 (“[p]recedent militates against a finding of a due

process violation regarding such an ordinary dispute over the counting and marking

of ballots”) (citing Gamza v. Aguirre, 619 F.2d 449, 453 (5th Cir. 1980) for the

proposition that “If every state election irregularity were considered a federal

constitutional deprivation, federal courts would adjudicate every state election

dispute.”).

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      Plaintiffs have failed to demonstrate the “extraordinary circumstances” rising

to the level of a constitutional deprivation to support their substantive due process

claim. They cite generally to Roe v. State of Ala. By & Through Evans, 43 F.3d 574

(11th Cir. 1995), but that case does not help their cause. In Roe, a circuit court had

ordered state election officials to count absentee ballots that had previously been

excluded for failure to comply with state law. Id. at 581. Although the Eleventh

Circuit found that this “post-election departure from previous practice” under state

law could “implicate fundamental fairness and the propriety of the elections at

issue,” it nevertheless refrained from overturning the ruling, and instead certified the

question of state law to the Alabama Supreme Court. Id. at 581-82. Here, Plaintiffs

have not alleged that there are specific unlawful ballots that have been counted that

could implicate the propriety of an election, and Roe provides no lifeline for their

fatally defective substantive due process claim.

      Their reliance on Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312 (11th

Cir. 2019) is also misplaced and seeks to turn the holding of that case on its head.

There, the State of Florida, like Georgia, reformed its election rules to allow for the

cure of rejected absentee ballots. A federal court determined, however, that Florida’s

cure policy was still too restrictive, and ordered that the cure period be extended 48

hours. Id. at 1327. The Eleventh Circuit then rejected an effort by the NRSC to stay

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this order, finding that the lack of a meaningful opportunity for voters to cure

rejected absentee ballots imposed at least a “serious burden” on the right to vote that

was not outweighed by the state’s interest in preventing fraud. Id. at 1321-22.

Therefore, Lee certainly does not support Plaintiffs’ argument that this Court should

further restrict the state’s absentee ballot verification procedures.

   2. Plaintiffs’ equal protection claim fails because they cannot show arbitrary
      and disparate treatment among classes of voters.

      Plaintiffs also have not articulated a cognizable harm that invokes the Equal

Protection Clause. In the voting rights context, equal protection means that “[h]aving

once granted the right to vote on equal terms, the state may not, by later arbitrary

and disparate treatment, value one person’s vote over that of another.” Bush v. Gore,

531 U.S. 98, 104 (2000) (citation omitted). The Prompt Notification Rule and OEB

Guidance are both facially neutral, and Plaintiffs do not explain how either values

one person’s vote over another or treats voters arbitrarily or disparately. To the

contrary, any actions taken by the Defendants here in promulgating rules and issuing

guidance were “in a wholly uniform manner across the entire state.” Wood, 2020

U.S. Dist. LEXIS 218058 at *26. Any alleged irregularities complained of by

Plaintiffs, if true, would have taken place at the county level under the supervision

of elections officials who are not parties to this case.


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      The Supreme Court’s decision in Bush v. Gore does not help Plaintiffs, as that

case found a violation of equal protection where certain counties were utilizing

varying standards for what constituted a legal vote in the 2000 Florida recount. 531

U.S. at 105. Here, the Prompt Notification Rule and OEB Guidance provide uniform

and consistent standards in complete harmony with the statutory framework for each

county to employ when verifying signatures on absentee ballot envelopes, in order

to avoid the kind of ad hoc standards that varied from county to county as found

unconstitutional in Bush v. Gore. They are the polar opposite of arbitrary and

disparate treatment.

   3. Plaintiffs’ procedural due process claim fails.

      The Eleventh Circuit expressly rejected Plaintiffs’ “novel procedural due

process argument” in New Georgia Project. 976 F.3d at 1282. Typically, a

procedural due process claim raises two inquiries: (1) whether there exists a liberty

or property interest which has been interfered with by the State and (2) whether the

procedures attendant upon that deprivation were constitutionally sufficient.” Wood,

2020 U.S. Dist. LEXIS 218058 at *32 (citing Richardson v. Texas Sec’y of State,

978 F.3d 220, 229 (5th Cir. 2020)). While the Eleventh Circuit “does assume that

the right to vote is a liberty interest protected by the Due Process Clause,” Wood,

2020 U.S. Dist. LEXIS 218058 at *33, it has also expressly declined to extend the

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strictures of procedural due process to a state’s election procedures, as Plaintiffs

attempt here. New Georgia Project, 976 F.3d at 1282. “The generalized due process

argument that the [Plaintiffs] argue[] for would stretch concepts of due process to

their breaking point.” Id. Accordingly, the Eleventh Circuit clarified that due process

claims involving state election procedures should be analyzed under the Anderson-

Burdick framework. And, as discussed above, Plaintiffs fail to show an undue burden

on their right to vote that rises to the level of a constitutional deprivation.

      In sum, because Plaintiffs are not likely to succeed on the merits of any of

their constitutional claims, injunctive relief must be denied.

   B. Plaintiffs face no irreparable harm if the status quo is maintained.

      Plaintiffs cite the “competitive injury their members will suffer absent relief”

as irreparable harm. However, the Eleventh Circuit has recognized that “[v]oters

have no judicially enforceable interest in the outcome of an election.” Jacobson, 974

F.3d at 1246. Plaintiffs also rely on the general notion that restrictions on the right

to vote constitute irreparable harm, but Plaintiffs have not alleged that the State

Defendants have actually imposed any unconstitutional restrictions on the right to

vote. Instead, as discussed above, Plaintiffs’ “allegations are the quintessential

generalized grievance,” and they have “not presented any evidence demonstrating



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how [they] will suffer any particularized harm by the denial of this motion.” Wood,

2020 U.S. Dist. LEXIS 218058, *37.

   C. The balance of equities and public interest weigh heavily against an
      injunction.

      The remaining injunction factors—balancing the equities and public

interest—are frequently considered “in tandem” by courts, “as the real question

posed in this context is how injunctive relief at this eleventh-hour would impact the

public interest in an orderly and fair election, with the fullest voter participation

possible.” Curling v. Kemp, 334 F. Supp. 3d 1303, 1326 (N.D. Ga. 2018), aff'd in

part, appeal dismissed in part, 761 F. App’x 927 (11th Cir. 2019). The Court must

“balance the competing claims of injury and must consider the effect on each party

of the granting or withholding of the requested relief,” paying “particular regard as

well for the public consequences in employing the extraordinary remedy of

injunction.” Winter, 555 U.S. at 24.

     Here, “the threatened injury to Defendants as state officials and the public at

large far outweigh any minimal burden on [Plaintiffs].” Wood, 2020 U.S. Dist.

LEXIS 218058 at *38. “Confidence in the integrity of our electoral process is

essential to the functioning of our participatory democracy,” and court orders

affecting elections “can themselves result in voter confusion and consequent


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incentive to remain away from the polls.” Purcell, 549 U. S. at 4-5. For this reason,

the Supreme Court “has repeatedly emphasized that lower federal courts should

ordinarily not alter the election rules on the eve of an election.” Republican Nat’l

Comm. v. Democratic Nat’l Comm., 140 S.Ct. 1205, 1207 (April 6, 2020) (per

curiam).

       “That mantra has consistently pointed the Supreme Court in one direction—

allowing the States to run their own elections.” New Ga. Project, 976 F.3d at 1283.

Indeed, the Supreme Court and Eleventh Circuit have repeatedly stayed lower court

injunctions that altered election rules once the 2020 general election cycle

commenced. Id. (collecting cases). Similarly here, the run-off election is already in

process, and Plaintiffs seeks relief that, if fully granted, would result in the disruption

of ongoing electoral processes, with the potential for voter confusion and wide-

spread disenfranchisement. Any theoretical fear of injury that Plaintiffs might have

pales in comparison to the potential chaos and disruption that would result from the

grant of the requested relief and the potential harm not only to county officials

operating under limited resources, but also to voters who run the risk of having their

ballots rejected due to last-minute changes in procedures.

       In sum, Plaintiffs’ motion should be denied and the action should be

dismissed.

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Respectfully submitted, this 16th day of December, 2020.

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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing has been formatted using Times New

Roman font in 14-point type in compliance with Local Rule 7.1(D).

                                     /s/ Charlene S. McGowan
                                     Charlene S. McGowan
                                     Assistant Attorney General




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                          CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically filed the foregoing STATE

DEFENDANTS’ CONSOLIDATED BRIEF IN SUPPORT OF THEIR

MOTION TO DISMISS AND RESPONSE TO PLAINTIFFS’ MOTION FOR

TRO AND PRELIMINARY INJUNCTION with the Clerk of Court using the

CM/ECF system, which will send notification of such filing to counsel for all parties

of record via electronic notification.

      Dated: December 16, 2020.

                                         /s/ Charlene S. McGowan
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